Case 3:16-md-02738-MAS-RLS Document 29451 Filed 03/12/24 Page 1 of 2 PageID: 174733




                             UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEW JERSEY

    IN RE: JOHNSON & JOHNSON                             MDL No. 2738 (MAS) (RLS)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION


                               SPECIAL MASTER ORDER NO. 20
                           (ADDRESSING MOTION FOR PROTECTIVE
                           ORDER REGARDING KCIC’S DOCUMENTS)


           The Special Master and counsel having held a Zoom conference on March 11, 2024,

    regarding the Motion for Protective Order addressed to J&J’s subpoena for KCIC’s documents;

    and this Order intending to confirm the Special Master’s rulings; and for all the reasons stated on

    the record,

           IT IS HEREBY ORDERED this 12th day of March, 2024, as follows:

           1.      Plaintiffs’ request that the Special Master conduct an in camera relevancy review

                   of KCIC’s documents responsive to J&J’s subpoena is DENIED;

           2.      To the extent KCIC has any objections to producing the documents responsive to

                   J&J’s subpoena, the objections are OVERRULED. KCIC did not timely serve its

                   objections pursuant to Special Master Order No. 18, and pursuant to the

                   subsequent extension of time the Special Master granted at KCIC’s request.

           3.      By 5:00 p.m. on March 15, 2024, plaintiffs shall produce all evidence to support

                   their privilege claim. J&J may respond by March 20, 2024.




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Case 3:16-md-02738-MAS-RLS Document 29451 Filed 03/12/24 Page 2 of 2 PageID: 174734




             4.       Plaintiffs shall promptly produce to J&J all non-privileged KCIC documents

                      KCIC produced in response to J&J’s subpoena.1



                                                                By:
                                                                   Judge
                                                                    udge Joel Schneider (Ret.)
                                                                                        (Ret )
                                                                   Special Master


        Dated: March 12, 2024




    1
      The Special Master asks that it be served with a hard copy of these documents to assist in its in camera review of
    the alleged privileged documents.

                                                             -2-

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